




NOTICE: Under Supreme Court Rule 367 a party has 21 days after

the filing of the opinion to request a rehearing. Also, opinions

are subject to modification, correction or withdrawal at anytime

prior to issuance of the mandate by the Clerk of the Court.

Therefore, because the following slip opinion is being made

available prior to the Court's final action in this matter, it

cannot be considered the final decision of the Court. The

official copy of the following opinion will be published by the

Supreme Court's Reporter of Decisions in the Official Reports

advance sheets following final action by the Court.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Docket No. 80688--Agenda 16--September 1996.

 &nbsp;&nbsp;&nbsp;&nbsp;In re S.G. et al., Minors (The People of the State of Illinois,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, v. Pearlie G., Appellee).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Opinion filed February 20, 1997.



 &nbsp;&nbsp;&nbsp;&nbsp;JUSTICE NICKELS delivered the opinion of the court:

 &nbsp;&nbsp;&nbsp;&nbsp;In this appeal, we decide whether section 2--14 of the

Juvenile Court Act of 1987 (705 ILCS 405/2--14 (West 1994))

requires that the circuit court dismiss a petition for adjudication

of wardship where the adjudicatory hearing is not completed within

the statutory time period. The State filed petitions for

adjudication of wardship in the circuit court of Cook County

alleging that each of Pearlie G.'s three daughters S.G., W.G. and

C.G., and her son K.G. were abused and neglected. Pearlie filed a

motion to dismiss the petitions, alleging that the statutory time

period for an adjudicatory hearing on those petitions had expired.

The circuit court denied Pearlie's motion to dismiss, finding that

the dismissal of the petitions would not be in the best interest of

the children. The circuit court subsequently adjudicated the four

children wards of the court and Pearlie appealed. The appellate

court reversed the adjudication of wardship. 277 Ill. App. 3d 803.

The appellate court determined that the plain language of section

2--14 requires the dismissal of a petition where the adjudicatory

hearing is not completed within the statutory time period. We

granted the State's petition for leave to appeal. 155 Ill. 2d R.

315. We affirm.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;I. BACKGROUND

 &nbsp;&nbsp;&nbsp;&nbsp;On February 27, 1991, the Illinois Department of Children and

Family Services (DCFS) investigated a report that Pearlie's

boyfriend had sexually abused her daughter W.G. DCFS found evidence

to support the report, but did not bring the family to the

attention of the juvenile court. W.G. eventually recanted her

allegations against the boyfriend, claiming that she fabricated the

charges because she did not like the boyfriend and wished to

estrange him from her mother.

 &nbsp;&nbsp;&nbsp;&nbsp;On April 21, 1992, the Chicago police department began

investigating reports of abuse that Pearlie's son, K.G., made to

the DCFS hot line. In these, K.G. reported that his mother had been

sexually abusing him. S.G. reported that she witnessed one of the

incidents of sexual abuse between K.G. and their mother. Pearlie

was arrested and charged with aggravated criminal sexual assault.

In the following days, both K.G. and S.G. recanted their

allegations against Pearlie.

 &nbsp;&nbsp;&nbsp;&nbsp;On April 28, 1992, the State's Attorney's office, on behalf of

DCFS, filed separate petitions for adjudication of wardship for

each of Pearlie's four children. The petitions alleged that there

was sexual abuse in the home and that the children were neglected

in that their environment was injurious to their welfare. Also on

April 28, 1992, the public guardian's office was appointed to

represent the children and the first of two temporary custody

hearings was held. See 705 ILCS 405/2--10 (West 1994).

 &nbsp;&nbsp;&nbsp;&nbsp;At the first temporary custody hearing, Donna Hendricks from

DCFS testified concerning both Pearlie's boyfriend's reported abuse

of W.G. and Pearlie's reported abuse of K.G. Pearlie did not attend

the hearing because she was incarcerated at this time on the

charges of sexually abusing K.G. The trial judge found probable

cause for the charges of abuse and neglect and further determined

that it was in the best interest of the children to name a

temporary custodian to place them.

 &nbsp;&nbsp;&nbsp;&nbsp;After being released, Pearlie was granted a second custody

hearing where she was represented by the public defender's office.

The second temporary custody hearing was held on June 22 and June

23, 1992. At this hearing, Assistant State's Attorney Adam Grosch

testified that K.G. reported being forced by his mother to engage

in sexual activity on two occasions. Grosch also testified that

S.G. corroborated K.G.'s account of the abuse.

 &nbsp;&nbsp;&nbsp;&nbsp;W.G. also testified at the hearing. W.G. testified that she

had fabricated the story of abuse by her mother's boyfriend because

she disliked him and wished to prevent her mother's continued

involvement with him. W.G. further testified that she believed that

her accusation gave K.G. the idea to accuse their mother. K.G.

declined to testify at the hearing. The trial judge declined to

change his finding that there was probable cause for the charges

and upheld his decision to award temporary custody of the children

to DCFS.

 &nbsp;&nbsp;&nbsp;&nbsp;At a hearing held on September 1, 1992, the circuit court

entered orders of default against the respondent fathers who had

been served by publication but failed to appear. At a hearing held

on September 3, 1992, the trial judge and the attorneys for the

parties acknowledged that the defaulting of the fathers on

September 1 began the 90-day speedy-trial provision contained in

section 2--14. The trial judge and the parties agreed that the

adjudicatory hearing must therefore be held by November 30, 1992,

and the trial judge set November 10 as the date for the

adjudicatory hearing.

 &nbsp;&nbsp;&nbsp;&nbsp;Also at the September 3 hearing, the trial judge granted the

public guardian's motion to withdraw his representation of W.G.

Attorney Mary Bird from the Legal Assistance Foundation then

entered her appearance and was appointed guardian ad litem for W.G.

The public guardian's office continued its representation of the

remaining siblings.

 &nbsp;&nbsp;&nbsp;&nbsp;On October 22, 1992, the assistant public guardian

representing the three remaining siblings requested a continuance

because she required surgery and would therefore be unavailable for

the November 10 trial date. The trial judge recognized that the 90-

day term was set to expire at the end of November, but he lamented

that because of his crowded docket there was no other available

court time to hold the hearing prior to the end of that term. The

judge thereupon found that a continuance was in the best interest

of the children and reset the adjudicatory hearing for December 15,

1992. Presumably the court was acting pursuant to section 2--14(c)

of the Juvenile Court Act (705 ILCS 405/2--14(c) (West 1994)),

which allows for one 30-day continuance of the 90-day statutory

period.

 &nbsp;&nbsp;&nbsp;&nbsp;On December 15, 1992, the circuit court first held a pretrial

hearing to dispose of several motions. Among them, the court

granted W.G.'s motion to be returned to the custody of her mother

under an order of protection. Thereafter, the court heard opening

statements from all parties and the testimony of one witness,

Robert O'Connor, who is an investigator with DCFS. After this sole

witness, the court adjourned the hearing and sought to schedule the

remaining court time necessary to conclude the adjudicatory

hearing.

 &nbsp;&nbsp;&nbsp;&nbsp;In trying to schedule the remaining time necessary for the

adjudicatory hearing, the trial judge was cognizant that the

statutory deadline was approaching. The judge noted that it was

"very unlikely" that the case could be completed by that time

because of the busy court calendar. A discussion concerning

scheduling was then conducted off the record. The trial judge

thereafter offered the parties the choice to either hear the case

on a piecemeal basis after the regular call each day when time was

available, or to schedule the case in a block of time in February.

Pearlie's attorney requested that the case proceed immediately on

a piecemeal basis. The trial judge ordered that the case proceed on

a piecemeal basis starting on December 17, 1996.

 &nbsp;&nbsp;&nbsp;&nbsp;On December 17, the court did not have enough time at the end

of the call to take any evidence. However, time was devoted to a

motion filed that day by W.G.'s attorney seeking to disqualify the

public guardian's office from representing the remaining siblings.

The motion alleged that the public guardian's representation of the

remaining siblings presented a conflict of interest with W.G., a

former client. The trial judge ordered a briefing schedule and the

matter was continued for a hearing to be conducted on January 11,

1993.

 &nbsp;&nbsp;&nbsp;&nbsp;On January 11, 1993, the court denied the motion to disqualify

the public guardian's office, ruling that any further delays in the

matter would not be in the best interest of the children. The court

then again offered to hear the case on a piecemeal basis or

alternatively to schedule the case in a block at some future time.

A scheduling conference was again held off the record. The court

scheduled the adjudicatory hearing to continue on March 8.

 &nbsp;&nbsp;&nbsp;&nbsp;Pearlie's attorney subsequently filed a motion to dismiss the

petitions for adjudication of wardship for all the children. The

motion alleged that the petitions must be dismissed pursuant to the

speedy-trial provisions contained in section 2--14 of the Juvenile

Court Act. Section 2--14 provides that an adjudicatory hearing

shall be held within 90 days of service of process, except that one

30-day continuance may be granted for good cause. 705 ILCS 405/2--

14 (West 1994). Section 2--14 provides that, where the adjudicatory

hearing is not timely held, the petition "shall be dismissed

without prejudice." 705 ILCS 405/2--14(c) (West 1994).

 &nbsp;&nbsp;&nbsp;&nbsp;Prior to resuming the adjudicatory hearing on March 8, the

court ruled on the motion to dismiss the petitions. The judge did

not dispute that the statutory time period for an adjudicatory

hearing had expired, but denied the motion because he found that

the dismissal of the petitions would not be in the best interest of

the minors. The adjudicatory hearing was then conducted over the

next several days, concluding on March 12.

 &nbsp;&nbsp;&nbsp;&nbsp;At the conclusion of the hearing, the court found that all the

children were neglected because their environment was injurious to

their welfare. The court further found that W.G. had been sexually

abused, but the court ruled that the evidence failed to establish

that K.G. had been sexually abused. At a dispositional hearing held

on April 12, the court adjudged the children wards of the court.

The court found that it was in the best interest of W.G., S.G. and

C.G. to be placed in the custody of their mother under an order of

protection. The court further held that K.G. should remain in the

custody of DCFS.

 &nbsp;&nbsp;&nbsp;&nbsp;Pearlie appealed from the adjudication of wardship. The

appellate court reversed. 277 Ill. App. 3d 803. The appellate court

concluded that the plain language of section 2--14 requires the

dismissal without prejudice of any petition in which the

adjudicatory hearing is not completed within the statutory time

period. 277 Ill. App. 3d at 809. The appellate court rejected the

State's argument that section 2--14 merely requires that the

hearing begin, but not finish, prior to the statutory time limit.

277 Ill. App. 3d at 809.

 &nbsp;&nbsp;&nbsp;&nbsp;We granted the State's petition for leave to appeal (155 Ill.

2d R. 315). The public guardian's office, representing S.G., C.G.

and K.G., has also filed a brief in opposition to the appellate

court's construction of section 2--14. The public defender's office

represents Pearlie as appellee. W.G. is not a party to this appeal.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;II. ANALYSIS

 &nbsp;&nbsp;&nbsp;&nbsp;The State first argues that the appellate court's construction

of section 2--14 violates the separation of powers provision of the

Illinois Constitution of 1970 (Ill. Const. 1970, art. II, §1) by

invading the inherent powers of the court to protect children. The

State also argues that the appellate court erred in giving section

2--14 a mandatory construction and in requiring that the

adjudicatory hearing be completed, rather than commenced, within

the statutory time period. The public guardian's office argues that

Pearlie's counsel waived her statutory right to a prompt

adjudicatory hearing by agreeing to the delays. The public

guardian's office also argues that the motion filed by W.G.'s

attorney to disqualify the public guardian's office tolled the

statutory time period.

 &nbsp;&nbsp;&nbsp;&nbsp;A court should avoid constitutional questions where the case

may be decided on other grounds. Bonaguro v. County Officers

Electoral Board, 158 Ill. 2d 391, 396 (1994). We therefore find it

appropriate to first address whether as a matter of statutory

construction the legislature intended for section 2--14 to require

the mandatory dismissal of a petition where the adjudicatory

hearing is not timely. We next address whether Pearlie waived her

right to a prompt adjudicatory hearing and whether the motion

seeking to disqualify the public guardian's office tolled the

statutory time period. As we find it necessary, we conclude by

addressing whether the mandatory dismissal of a petition pursuant

to section 2--14 violates the constitutional principle of

separation of powers.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A. Statutory Construction

 &nbsp;&nbsp;&nbsp;&nbsp;In interpreting a statute, our objective is to ascertain and

give effect to the intent of the legislature. Hernon v. E.W.

Corrigan Construction Co., 149 Ill. 2d 190, 194 (1992). The most

reliable indicator of legislative intent is the language of the

statute. People v. Bryant, 128 Ill. 2d 448, 455 (1989). Section 2--

14 of the Juvenile Court Act provides:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"(a) Purpose and policy. The legislature recognizes

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;that serious delay in the adjudication of abuse, neglect,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;or dependency cases can cause grave harm to the minor and

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;the family and that it frustrates the best interests of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;the minor and the effort to establish permanent homes for

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;children in need. The purpose of this Section is to

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;insure that *** the State of Illinois will act in a just

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;and speedy manner to determine the best interests of the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;minor ***.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(b) When a petition is filed alleging that the minor

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;is abused, neglected or dependent, an adjudicatory

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;hearing shall be held within 90 days of the date of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;service of process upon the minor, parents, any guardian

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;and any legal custodian.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(c) Upon written motion of a party filed no later

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;than 10 days prior to hearing, or upon the court's own

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;motion and only for good cause shown, the Court may

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;continue the hearing for a period not to exceed 30 days,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;and only if the continuance is in the best interests of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;the minor. When the court grants a continuance, it shall

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;enter specific factual findings to support its order,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;including factual findings supporting the court's

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;determination that the continuance is in the best

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;interests of the minor. Only one such continuance shall

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;be granted. A period of continuance for good cause as

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;described in this Section shall temporarily suspend as to

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;all parties, for the time of the delay, the period within

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;which a hearing must be held. On the day of the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;expiration of the delay, the period shall continue at the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;point at which it was suspended.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The term `good cause' as applied in this Section

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;shall be strictly construed and be in accordance with

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Supreme Court Rule 231(a) through (f). Neither

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;stipulation by counsel nor the convenience of any party

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;constitutes good cause. If the adjudicatory hearing is

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;not heard within the time limits required by subsection

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(b) or (c) of this Section, upon motion by any party the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;petition shall be dismissed without prejudice.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(d) The time limits of this Section may be waived

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;only by consent of all parties and approval by the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;court." 705 ILCS 405/2--14 (West 1994).

 &nbsp;&nbsp;&nbsp;&nbsp;The State notes that in the context of the Juvenile Court Act

this court has interpreted the term "shall" as directory, rather

than mandatory. In In re Armour, 59 Ill. 2d 102 (1974), this court

construed a provision requiring that a petition "shall be set for

an adjudicatory hearing within 30 days" (Ill. Rev. Stat. 1971, ch.

37, par. 704--2). This court concluded that the legislature did not

intend a mandatory construction of the statute. In re Armour, 59

Ill. 2d at 105. In so finding, this court reasoned that dismissing

a petition would not further the goals of the Juvenile Court Act to

rehabilitate and protect minors. In re Armour, 59 Ill. 2d at 104.

In addition, the court concluded that the language of the statute

did not evince the legislative intent necessary for a mandatory

construction. The court reasoned that unlike the familiar criminal

speedy-trial provision, the legislature did not include a

consequence for the failure to set the adjudicatory hearing within

the time period. In re Armour, 59 Ill. 2d at 105.

 &nbsp;&nbsp;&nbsp;&nbsp;The provision at issue in In re Armour is readily

distinguishable from section 2--14. Section 2--14 contains an

explicit statement of policy that delay can cause grave harm to

minors. 705 ILCS 405/2--14(a) (West 1994). Section 2--14 also gives

explicit directions on how the time period is to be calculated and

the manner of granting continuances. 705 ILCS 405/2--14(c) (West

1994). More importantly, section 2--14 provides for the dismissal

without prejudice of any petition where an adjudicatory hearing is

not timely held. 705 ILCS 405/2--14(c) (West 1994); see also People

v. Porter, 122 Ill. 2d 64, 85 (1988) (finding that a mandatory

construction is indicated where statute prescribes the result that

will occur if the specified procedure is not followed). For these

reasons, we find that the legislature intended a mandatory

construction of section 2--14.

 &nbsp;&nbsp;&nbsp;&nbsp;The State also argues that the appellate court erred in

construing section 2--14 to require that the adjudicatory hearing

be completed, rather than commenced, within the statutory time

period. The State argues that section 2--14 should be interpreted

similarly to the speedy-trial provision in the Code of Criminal

Procedure of 1963 (725 ILCS 5/103--5 (West 1994)), which has been

interpreted to require only that the proceeding begin before the

expiration of the statutory time period. See People v. Williams, 59

Ill. 2d 402, 405 (1974). The State argues that any contrary

interpretation would provide an incentive for the parties to simply

delay the proceedings to obtain a dismissal.

 &nbsp;&nbsp;&nbsp;&nbsp;We reject the State's interpretation. We agree with the

appellate court that section 2--14 requires adjudicatory hearings

be completed prior to the statutory deadline. The legislature used

the phrase "shall be held within 90 days" rather than "shall begin"

or "shall commence" within 90 days. In addition, section 2--14(c)

further provides that "[i]f the adjudicatory hearing is not heard

within the time limits *** the petition shall be dismissed without

prejudice." (Emphasis added.) 705 ILCS 405/2--14(c) (West 1994).

This perfective language supports the view that the legislature

intended for adjudicatory hearings to be completed prior to the

statutory deadline.

 &nbsp;&nbsp;&nbsp;&nbsp;Our conclusion based upon the plain language of section 2--14

is buttressed by the history of the provision. A prior scheduling

provision required that petitions for adjudication of wardship

"shall be set for an adjudicatory hearing within 30 days." Ill.

Rev. Stat. 1983, ch. 37, par. 704--2. The legislature specifically

changed the language of the scheduling provision from requiring

that a hearing "shall be set" to requiring that the hearing "shall

be held" within the statutory time period. Presumably, this change

reflects a legislative desire to actually require that adjudicatory

hearings be completed within the statutory time period, rather than

simply started.

 &nbsp;&nbsp;&nbsp;&nbsp;This conclusion is also consistent with the stated purpose of

the statute to "insure" the speedy resolution of abuse and neglect

cases. If we allowed a technical start of the hearing followed by

an indeterminate period of delay to satisfy section 2--14, the

statutory protection could be easily circumvented and timeliness

would not be guaranteed. Indeed, the hearing in the present case

was delayed for an additional three months after the start of the

hearing on December 15. We are also confident that the trial judge

can exercise sufficient control over the proceedings to prevent a

party from obtaining a dismissal through purposeful delay. We

therefore hold that the legislature intended a mandatory

construction of section 2--14 and that the adjudicatory hearing

must be completed within the statutory period.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;B. Application and Waiver

 &nbsp;&nbsp;&nbsp;&nbsp;Applying the statute, the adjudicatory hearing was not timely.

Section 2--14 provides that the 90-day statutory time period begins

on the date of service of process. 705 ILCS 405/2--14(b) (West

1994). We therefore take the default entered against the absent

fathers on September 1, 1992, as the starting date for the 90-day

statutory period. Fifty-one days had elapsed when the public

guardian's office was granted a continuance on October 22, which we

will assume satisfied the requirements for a continuance pursuant

to section 2--14(c). Section 2--14(c) provides that upon the

expiration of the 30-day continuance, the 90-day period shall

continue at the point at which it was suspended. 705 ILCS 405/2--

14(c) (West 1994). Thus, 30 days later on November 21, 1992, the

time again began to run on the 90-day time period, starting at 51

days. The 90-day period therefore expired 39 days later on December

30, 1992. The hearing, however, was not concluded until March 12,

1993, well beyond the statutory period.

 &nbsp;&nbsp;&nbsp;&nbsp;The public guardian's office argues that the adjudicatory

hearing need not have been held within the statutory period because

Pearlie waived her right to a prompt adjudicatory hearing. See 705

ILCS 405/2--14(d) (West 1994). The public guardian initially argues

that Pearlie waived her right to a prompt hearing after the hearing

first commenced on December 15, 1992, by agreeing to have the case

heard thereafter on a piecemeal basis. The public guardian further

argues that Pearlie again waived her right to a prompt hearing on

January 11, 1993, by declining the judge's offer to hear the case

on a piecemeal basis and instead requesting a set block of time at

a future date.

 &nbsp;&nbsp;&nbsp;&nbsp;The public guardian's waiver arguments represent a brazen

distortion of the record. Throughout the entire proceedings,

Pearlie's attorney repeatedly voiced Pearlie's frustration at the

slow pace of the proceedings and her desire for a quick completion.

After the beginning of the adjudicatory hearing on December 15, the

court gave the parties the option either to have the case heard on

a piecemeal basis at the end of the call each day or to schedule

the case for a block of time in February. When Pearlie's attorney

pressed the court on the scheduling issue, the court explicitly

responded that if he was unwilling to waive the 90-day period and

have the case scheduled at a remote time, then he must accept the

prospect of having the case proceed "bit by bit." Pearlie's

attorney responded that he would agree to have the case heard "bit

by bit." In agreeing to having the case heard when time was

available, Pearlie was exercising her statutory right to a prompt

hearing, not waiving it.

 &nbsp;&nbsp;&nbsp;&nbsp;The public guardian further argues that Pearlie again waived

her right to a prompt hearing on January 11, 1993, by agreeing to

have the case heard in a block of available time in March. In its

effort to manufacture waiver, the public guardian's office again

distorts the record. At no time during the January 11 hearing did

the court or the parties even discuss a waiver of the statutory

time period. Indeed, Pearlie's attorney at first rejected both

hearing the case immediately on a piecemeal basis and hearing the

case at a later block of time, suggesting instead that the court

reschedule other cases and fit the case in the call over the next

week or two. After hearing from the parties, the court ruled that

the case would proceed in March when the court had a block of time

available in its busy call. Our review of the record thoroughly

undermines the contention that Pearlie ever waived her statutory

right to a timely hearing.

 &nbsp;&nbsp;&nbsp;&nbsp;Last, the public guardian argues that the motion filed by

W.G.'s attorney to disqualify the public guardian's office tolled

the statutory time period. The public guardian notes that in

addition to the speedy-trial provision, a statutory right to

counsel exists in the Juvenile Court Act (705 ILCS 405/1--5 (West

1994)). The public guardian reasons that the circuit court acted

properly in balancing the competing statutory policies by resolving

the representation issue prior to continuing the hearing.

 &nbsp;&nbsp;&nbsp;&nbsp;Section 2--14 provides no support for the public guardian's

contention that resolving issues surrounding the children's

representation should toll the statutory time period. Section 2--14

provides that only one 30-day continuance of the proceedings is to

be granted. 705 ILCS 405/2--14(c) (West 1994). We decline to read

any exceptions into the clear statutory language requiring that

adjudicatory hearings be held within the statutory time period.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;C. Separation of Powers

 &nbsp;&nbsp;&nbsp;&nbsp;The State argues that a mandatory construction of section 2--

14 which requires the dismissal of a petition for adjudication of

wardship violates the separation of powers provision of our

constitution. Ill. Const. 1970, art. II, §1. According to the

State, the judiciary possesses the inherent plenary authority under

the doctrine of parens patriae to act in the best interest of

minors which cannot be taken away by statute. Therefore, the State

argues that the legislature may not require the dismissal of a

petition for adjudication of wardship on timeliness grounds where

the circuit court decides that such a dismissal is not in the best

interest of the minor.

 &nbsp;&nbsp;&nbsp;&nbsp;At the outset, we note that "a strong presumption of

constitutionality attaches to any legislative enactment and that

the burden rests upon the challenger to demonstrate its

invalidity." Sanelli v. Glenview State Bank, 108 Ill. 2d 1, 20

(1985). The separation of powers provision of the Illinois

Constitution, contained in section 1 of article II, provides:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"The legislative, executive and judicial branches are

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;separate. No branch shall exercise powers properly

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;belonging to another." Ill. Const. 1970, art. II, §1.

Section 1 of article VI further provides:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"The judicial power is vested in a Supreme Court, an

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellate Court and Circuit Courts." Ill. Const. 1970,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;art. VI, §1.

 &nbsp;&nbsp;&nbsp;&nbsp;The separation of powers provision does not seek to achieve a

complete divorce between the branches of government. Strukoff v.

Strukoff, 76 Ill. 2d 53, 58 (1979). Neither does the provision

require the "division of governmental powers into rigid, mutually

exclusive compartments." People v. Walker, 119 Ill. 2d 465, 473

(1988). Inevitably, there are areas in which separate spheres of

governmental authority overlap and certain functions are thereby

shared. Walker, 119 Ill. 2d at 473. Ultimately, the purpose of the

provision is to prevent the whole power of two or more branches

from residing in the same hands. Knuepfer v. Fawell, 96 Ill. 2d

284, 292 (1983); Walker, 119 Ill. 2d at 473.

 &nbsp;&nbsp;&nbsp;&nbsp;The constitution does not define the exact nature of the

different governmental powers. However, this court has sketched the

judicial power as including the adjudication and application of law

and the procedural administration of the courts. People v. Bainter,

126 Ill. 2d 292, 302-03 (1989); DeLuna v. St. Elizabeth's Hospital,

147 Ill. 2d 57, 68 (1992). Where matters of procedure are at issue,

this court has noted that the constitutional authority to

promulgate procedural rules can be concurrent between the court and

the legislature. O'Connell v. St. Francis Hospital, 112 Ill. 2d

273, 281 (1986); Strukoff, 76 Ill. 2d at 61; People v. Cox, 82 Ill.

2d 268, 274 (1980). In determining whether a legislative enactment

pertaining to judicial practice or procedure is constitutional,

this court has looked to whether the statute conflicts with any

court rules or unduly infringes on inherent judicial powers.

Bainter, 126 Ill. 2d at 302-03; Walker, 119 Ill. 2d at 474; Cox, 82

Ill. 2d at 274.

 &nbsp;&nbsp;&nbsp;&nbsp;The State does not suggest that section 2--14 conflicts with

a supreme court rule. Cf. Cox, 82 Ill. 2d at 274 ("where a rule of

this court on a matter within the court's authority and a statute

on the same subject conflict, the rule will prevail"). Instead, the

State argues that in requiring the dismissal of a petition on

timeliness grounds, section 2--14 unduly infringes on the inherent

powers of the court in its role as parens patriae to protect

children.

 &nbsp;&nbsp;&nbsp;&nbsp;The doctrine of parens patriae refers to duty of the

government to care for infants, the insane and the infirm. County

of McLean v. Humphreys, 104 Ill. 378, 383 (1882). In order to

satisfy this duty, the English courts of chancery became imbued

with the jurisdiction to act on the behalf of those unable to care

for themselves. "The source of this jurisdiction is quite

uncertain" and it is unclear "[w]hether the power was originally a

mere usurpation, or was legally delegated to the chancellor by the

crown as parens patriae, or grew out of the practice of appointing

guardians ad litem." Thomas v. Thomas, 250 Ill. 354, 364-65 (1911).

In any event, this doctrine exists in our courts by its inheritance

from the English courts of chancery, and this court has recognized

that it provides the authority to appoint guardians independent of

any authority granted by the legislature. In re M.M., 156 Ill. 2d

53, 63 (1993).

 &nbsp;&nbsp;&nbsp;&nbsp;Neither the doctrine of parens patriae nor our inherent

guardianship powers provide a basis to judicially invalidate

section 2--14. The doctrine of parens patriae is not solely a grant

of jurisdiction to the courts, but represents an expression of the

general power and obligation of the government as a whole to

protect minors and the infirm. People ex rel. Pauling v. Misevic,

32 Ill. 2d 11, 14 (1964); People ex rel. Wallace v. Labrenz, 411

Ill. 618, 623-24 (1952). For this reason, each branch of government

has concurrent powers and responsibilities that are in the nature

of parens patriae. Although our courts possess some powers that are

in the nature of parens patriae, that doctrine does not represent

an independent judicial power to strike down legislation on grounds

that it violates "the best interest of the child."

 &nbsp;&nbsp;&nbsp;&nbsp;This court has also rejected the State's contention that

because the Juvenile Court Act is merely a codification of our

court's inherent parens patriae authority, a circuit court retains

its equitable powers and may exercise them in contravention of the

statute. In People ex rel. Carey v. White, 65 Ill. 2d 193 (1976),

the trial judge, responding to a writ of mandamus, argued that

because the Juvenile Court Act represents a codification of the

inherent parens patriae power, he may exercise the traditional

equitable power to impanel an advisory jury for the proceedings.

White, 65 Ill. 2d at 202. This court rejected that view and held

that the trial court could not exercise its equitable powers

contrary to the parameters outlined by the legislature. White, 65

Ill. 2d at 202.

 &nbsp;&nbsp;&nbsp;&nbsp;This court has also rejected a broad construction of the

inherent guardianship powers our courts possess. In In re M.M., 156

Ill. 2d 53 (1993), this court was presented with several cases

where the trial judge sought to impose restrictions on a guardian's

power to consent to an adoption. In each case, the trial judge

found that it was in the child's best interest to retain contact

with his or her biological parents. Therefore, the trial judges

attempted to limit the guardian's consent to an adoption to

instances where the adoptive parents had agreed to keep the child

in contact with his or her biological parents.

 &nbsp;&nbsp;&nbsp;&nbsp;In rejecting this practice, this court acknowledged that the

circuit court possesses the "inherent plenary power to appoint

guardians of minors independent of any authority given to the

courts by the legislature." In re M.M., 156 Ill. 2d at 63. However,

this court refused to give that power a broad construction because

at common law the court's inherent guardianship power did not

include the power to consent to an adoption. In re M.M., 156 Ill.

2d at 63-66. Furthermore, this court reasoned that a court may not

seize upon "the best interest of the child mandate" to enlarge its

statutory powers. In re M.M., 156 Ill. 2d at 69-70.

 &nbsp;&nbsp;&nbsp;&nbsp;More importantly, this court has directly upheld the Juvenile

Court Act against challenges that it invades the court's

guardianship powers. In People ex rel. Houghland v. Leonard, 415

Ill. 135 (1953), the petitioner in a habeas corpus action

challenged the constitutional validity of the Juvenile Court Act on

grounds that it infringed on the court's guardianship authority.

Leonard, 415 Ill. at 138. This court rejected that view and held

that the Juvenile Court Act represents a broad legislative

expression of public policy that goes beyond the equitable

jurisdiction of courts to appoint guardians. Leonard, 415 Ill. at

139.

 &nbsp;&nbsp;&nbsp;&nbsp;The responsibility to protect children rests upon all three

branches of government, which have separate functions under our

constitution. In order that our governmental system operate in

harmony where functions are shared between branches, we have

understood the "necessity to exercise sparingly the inherent powers

of the judiciary" and recognized that "deference should normally be

accorded the governmental branch having initial responsibility."

Knuepfer, 96 Ill. 2d at 293. The initial responsibility for setting

public policy relating to the care and custody of minors rests with

the legislative branch of government. For this reason, this court

has routinely deferred to the legislature by acknowledging that the

Juvenile Court Act is "a purely statutory creature whose parameters

and application are defined solely by the legislature." See People

v. P.H., 145 Ill. 2d 209, 223 (1991); In re M.M., 156 Ill. 2d at

66.

 &nbsp;&nbsp;&nbsp;&nbsp;Consistent with this view, this court has rejected challenges

that provisions in the Juvenile Court Act violate principles of

separation of powers. For example, this court held that the

legislature can mandate the removal of a petition for adjudication

of wardship from the juvenile to the criminal court. See P.H., 145

Ill. 2d at 221-24. In addition, this court has held that the

legislature may require mandatory sentences of confinement for

juveniles. See People ex rel. Carey v. Chrastka, 83 Ill. 2d 67, 78-

79 (1980). In so holding, this court reasoned that these provisions

do not infringe on any inherent judicial power because they merely

define and implement a statutorily created remedy. P.H., 145 Ill.

2d at 224. Chrastka, 83 Ill. 2d at 80.

 &nbsp;&nbsp;&nbsp;&nbsp;The State relies on In re J.J., 142 Ill. 2d 1 (1991), as the

sole support for its position that a court can decline to dismiss

a petition for adjudication of wardship on timeliness grounds

pursuant to its inherent powers. In In re J.J., the State's

Attorney argued that he had the exclusive right to dismiss a

petition for adjudication of wardship because of his role in the

executive branch of government. This court rejected that view and

determined that the circuit court had an independent duty to

determine whether the State's motion to dismiss was in the best

interest of the minor. In re J.J., 142 Ill. 2d at 9. The State

suggests that the trial court can similarly refuse to dismiss a

petition pursuant to section 2--14 where it determines that

dismissal is not in the best interest of the minor.

 &nbsp;&nbsp;&nbsp;&nbsp;This court's decision in In re J.J. was not premised on any

inherent judicial power to act in derogation of a statute where a

court determines it is in the best interest of a minor. Instead,

this court found that the Juvenile Court Act itself imposed an

independent statutory duty on the court to inquire into whether the

dismissal is in the best interest of a minor. In re J.J., 142 Ill.

2d at 8-11. This court determined that such a statutory duty did

not violate the principle of separation of powers because the

State's Attorney does not act in his traditional adversarial role

in dependency and neglect proceedings. In re J.J., 142 Ill. 2d at

8-10. In addition, the court's statutory duty did not conflict with

the State's Attorney's role under the Act because both are

similarly charged with acting in the minor's best interest. In re

J.J., 142 Ill. 2d at 8-10. The statutory duties recognized in In re

J.J. do not support the view that the circuit court possesses the

inherent power to express a child's best interest and thereby

dispense with the requirements of the Act.

 &nbsp;&nbsp;&nbsp;&nbsp;We therefore hold that section 2--14 does not violate the

constitutional principle of separation of powers. Section 2--14

represents a legislative expression of public policy requiring the

expeditious resolution of abuse and neglect cases. In setting this

policy, the legislature has provided for a reasonable and adequate

period of time, at least 90 days, for the exercise of judicial

duties. Furthermore, section 2--14 does not take from the courts

the judicial power to adjudicate a child's best interest, but

merely requires that judicial duties get exercised in a manner that

protects all the rights of the parties. Neither the doctrine of

parens patriae nor our inherent guardianship powers provide for the

broad judicial power to express a child's best interest and thereby

decline to carry out this legislative policy. Therefore, section 2-

-14 does not unduly infringe on any inherent judicial power and our

courts are duty bound to dismiss a petition for which an

adjudicatory hearing is not timely held.

 &nbsp;&nbsp;&nbsp;&nbsp;In closing, we reject the contention that our decision to

apply the plain language of section 2--14 will place children at

risk. Trial judges are aware of the statutory deadline and are

charged with controlling their docket accordingly. The Juvenile

Court Act further provides for the liberal supplementing of

petitions. See 705 ILCS 405/2--13(5) (West 1994). Moreover, section

2--14 provides that the dismissal of a petition on timeliness

grounds is without prejudice. 705 ILCS 405/2--14(c) (West 1994).

Therefore, the State may immediately file a new petition where

children may be put at risk.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;III. CONCLUSION

 &nbsp;&nbsp;&nbsp;&nbsp;We conclude the legislature intended that the circuit court

dismiss a petition for adjudication of wardship pursuant to section

2--14 where an adjudicatory hearing is not completed within the

statutory time period. We further conclude that in this case the

statutory time period for a hearing expired and Pearlie did not

waive her right to a timely hearing. Last, we conclude that the

statutory mandate contained in section 2--14 requiring dismissal of

a petition for adjudication of wardship does not violate the

constitutional principle of separation of powers. We therefore

affirm the judgment of the appellate court.

 &nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellate court judgment affirmed.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;JUSTICE McMORROW, dissenting:

 &nbsp;&nbsp;&nbsp;&nbsp;My colleagues today content themselves with a purely literal

interpretation of section 2--14 of the Juvenile Court Act of 1987

(705 ILCS 405/2--14 (West 1994)). In doing so, they ignore one of

the cardinal rules of statutory construction: the proper

interpretation of any legislative enactment cannot be based solely

upon the language of the statute in question, but "must be grounded

on the `nature, objects and the consequences that would result from

construing it one way or the other.' " Mulligan v. Joliet Regional

Port District, 123 Ill. 2d 303, 313 (1988), quoting Carrigan v.

Illinois Liquor Control Comm'n, 19 Ill. 2d 230, 233 (1960). By

failing to consider the consequences of its literal interpretation

of section 2--14, the majority inadvertently contributes to the

very hardship that the legislature intended to prevent, i.e.,

inordinate delay in resolving allegations of child abuse and

neglect. Under the majority's approach, the State--on behalf of the

minors--must now refile its petition for wardship, thereby starting

the entire adjudicatory process over again. Equally troubling,

however, is the fact that the majority fails to consider the

circuit court's finding that a dismissal would not be in the best

interests of the four children who are at the heart of this case.

 &nbsp;&nbsp;&nbsp;&nbsp;The General Assembly enacted the Juvenile Court Act to

safeguard the best interests of the children, and further charged

the court system with construing the Act liberally to carry out

that purpose. See 705 ILCS 405/1--2 (West 1994). The court today

fails to carry out that mandate. Because I believe that section 2--

14 can be construed so as to fulfill the legislature's intent of

securing the best interests of the children without the automatic

dismissal of the petition, I respectfully dissent.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;I

 &nbsp;&nbsp;&nbsp;&nbsp;The dispositive issue in this case is whether section 2--14 of

the Juvenile Court Act requires an automatic dismissal where the

adjudicatory hearing is commenced, but not completed, within 90

days from the date of service of process. According to the

majority, the General Assembly's use of the phrase "shall be held"

rather than "shall begin" or "shall commence" indicates that the

legislature must have intended that the hearing be fully completed

within the statutory time period. See slip op. at 8-9. Had the

legislature wanted the hearing to "commence" within 90 days, the

majority reasons, it would have said so directly in the statute.

The majority further suggests that its literal interpretation of

section 2--14 is "consistent with the stated purpose of the statute

to `insure' the speedy resolution of abuse and neglect cases." Slip

op. at 9. I disagree with this interpretation for the following

reasons.

 &nbsp;&nbsp;&nbsp;&nbsp;From a linguistic point of view, the majority errs in

reasoning that the absence of the words "begin" or "commence"

signifies an express legislative intent that the hearings must be

"completed" or "concluded" within 90 days. The error in that

reasoning stems from the fact that an argument based on the

opposite inference could just as easily be supported. Had the

legislature intended for all adjudicatory hearings to be finished

within the time allotted, it would have expressly stated that the

hearings shall be "completed" or "concluded" within 90 days. But

the legislature did not do so. Because I do not believe that the

absence of the words "begin" or "commence" is any more indicative

of the legislature's intent than the absence of the words

"completed" or "concluded," I am not persuaded by the majority's

argument concerning what the legislature might have said.

 &nbsp;&nbsp;&nbsp;&nbsp;Throughout its analysis, the majority focuses exclusively on

the legislature's goal of preventing serious delay in the

adjudication of abuse and neglect cases. Noticeably absent from

that analysis, however, is any mention of the overriding

legislative intent to safeguard the best interests of the minors.

See In re J.J., 142 Ill. 2d 1, 8 (1991); see also 705 ILCS 405/1--2

(West 1994) (requiring Juvenile Court Act to be "liberally"

construed to carry out its purpose of securing that which is best

for the minors). That paramount interest permeates the entire

Juvenile Court Act, including section 2--14. As our appellate court

has recognized, "[w]hile one of the express purposes of [section 2-

-14] is to prevent grave harm to minors and families by less than

diligent court proceedings [citation], the overall purpose of the

Act is to safeguard the children [citations]." In re H.R., 283 Ill.

App. 3d 907, 912 (1996). Indeed, it was in accordance with that

purpose, as well as the legislative mandate to construe the Act

liberally, that Judge Smierciak, who presided over this case from

its inception, denied the respondents' motion to dismiss pursuant

to section 2--14. The transcript here reveals that Judge Smierciak

specifically found that granting the motion to dismiss would not be

in the best interests of the children. He stated:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"Each of the continuances that was had in this case

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;was done with the best interest of these children in

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;mind. Each was done out of necessity. And we certainly

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;believe that the spirit of the statute has been followed.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;I would also state unequivocally that it would not

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;be in the best interest of these children to dismiss

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;these petitions at this time."

 &nbsp;&nbsp;&nbsp;&nbsp;Ignoring Judge Smierciak's finding, the majority today

assumes, without explanation, that the speedy resolution of

adjudicatory hearings, as contemplated by section 2--14, will

always be consistent with the legislature's overall intent to

safeguard the children. In my opinion, however, the swift

prosecution of these hearings may not always be in a child's best

interest. The case at bar amply reinforces and highlights my

position. Although I am not unmindful that the legislature stated

that serious delay "can cause grave harm to the minor and the

family" (705 ILCS 405/2--14(a) (West 1994)), I also cannot ignore

the fact that the legislature expressly provided that the best

interests of the children must prevail under the Act. Given this

statutory scheme, the desire for a prompt adjudication, no matter

how laudable in the abstract, should and must yield when necessary

or desirable to the best interests of the children in a particular

case. To hold otherwise would be to undermine the very essence of

our Juvenile Court Act.

 &nbsp;&nbsp;&nbsp;&nbsp;I take issue with the majority's statement that its

interpretation of section 2--14 comports with "the stated purpose

of the statute to `insure' the speedy resolution of abuse and

neglect cases." Slip op. at 9. On the contrary, requiring a

dismissal under the circumstances of this case will only serve to

defeat the will of the legislature by generating further delay. I

note that Judge Smierciak had already ruled on numerous pretrial

motions, entertained opening arguments, and began hearing witness

testimony. As such, he was familiar with the participants in the

case as well as the allegations of abuse and neglect.

Notwithstanding the depth of his involvement, the majority now

insists that Judge Smierciak erred by not dismissing the petition

in the middle of the trial. In my opinion, a dismissal of the

petition at this juncture will not only undo all that has been

accomplished so far, but will also set off a chain of events which

will prolong the final adjudication of the charges of abuse and

possibly put the victims at risk. Indeed, under today's ruling, the

State must once again file its petition for wardship, obtain

service of process, seek a new order of temporary custody, and

attempt to reset the matter for trial. There is no guarantee that

this case will even be reassigned to Judge Smierciak. Assignment to

a new or different judge to reconsider previously litigated issues

represents a waste of judicial time and effort.

 &nbsp;&nbsp;&nbsp;&nbsp;The majority's literal interpretation of section 2--14 has the

potential of encouraging an endless cycle of litigation. I point

out that it was not judicial foot dragging which prevented the

trial judge from trying this complex case within the statutory

deadline. Rather, it was an over-crowded court docket. In this

respect, we have for review the detailed record made by the trial

judge in this case so as to fully inform the reviewing courts of

the extent of the problem and the reason for the delay. As Judge

Smierciak explained in denying the motion to dismiss:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"This case is unusual because of the substitution of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;attorneys, because of the great number of pretrial

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;motions that were filed on behalf of the children and

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;other parties as well as by the fact that the lawyers

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;have suggested that there would be as many as 10 to 12

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;witnesses testifying in this case.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In fact, I've blocked out this day and two

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;subsequent days on this court's calendar to hear this

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;case because of its complexity and because of the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;adversarial stances that have been taken by the parties.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;With 4000 cases on the Court call, it's just impossible

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;to hear 10-, 12-witness cases and take 20 hours of court

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;time to try them without scheduling in this manner."

 &nbsp;&nbsp;&nbsp;&nbsp;The majority pays little heed to Judge Smierciak's explanation

as to why this case could not be resolved within 90 days of service

of process. Had it done so, the majority would have been cognizant

of the impractical consequences of its decision to require the

dismissal of the present action. Assuming, as we should, that the

State still has an interest in prosecuting this case, it must now

return to the same congested court system from which the case is

being dismissed. The State must refile without any guarantee that

the system will be any less congested, or that the second action

will produce a result any different from the first. Indeed, the

majority offers little, if any, assurance that a refiled petition

will not suffer the same fate as the original petition.

 &nbsp;&nbsp;&nbsp;&nbsp;Instead, the majority callously suggests that "the legislature

has provided for a reasonable and adequate period of time, at least

90 days, for the exercise of judicial duties," and further that

"[t]rial judges are aware of the statutory deadline and are charged

with controlling their docket accordingly." Slip op. at 17. In my

view, it is naïve to think that even the most conscientious trial

judge will be able to fully try all adjudicatory hearings within 90

days of service of process, especially when one considers what is

involved in trying these cases. Presumably, the 90-day period

includes the filing of motions disputing personal jurisdiction,

contesting service of process, or challenging the sufficiency of

the complaint. After those motions are disposed, defendants will

then be afforded an opportunity to answer the complaint so as to

place the parties at issue. At this point, the parties may commence

discovery: propounding written interrogatories, responding to

requests to produce documents and/or admit facts, and taking of the

parties' depositions. Discovery may be further complicated if the

parties wish to present expert testimony, as is often the case

where allegations of sexual abuse are involved. If the parties do

not comply with discovery orders, additional court time will be

needed to rectify the noncompliance. Finally, the court must

actually hear the witnesses and render its decision. All of this in

a case which is given what the majority deems is a "reasonable"

statutory life of 90 days.

 &nbsp;&nbsp;&nbsp;&nbsp;In view of the foregoing, I do not share my colleagues'

confidence "that the trial judge can exercise sufficient control

over the proceedings to prevent a party from obtaining a dismissal

through purposeful delay." Slip op. at 9. Even if a trial judge

suspected that a party was engaging in such tactics, it is not

likely that the additional burden of disciplining the laggard party

would have a positive impact upon the judge's ability to try the

matter in 90 days. If anything, taking the time to issue rules to

show cause, hold contempt hearings and order sanctions would

actually hamper the progress of the case. Therefore, unlike the

majority, I have serious doubts about whether trial judges can

realistically comply with the deadline set forth in section 2--14,

as interpreted by the majority, simply by exercising judicial

oversight of recalcitrant litigants. Moreover, I think it unwise to

underestimate the ingenuity of respondents who have now been given

an incentive to extend the litigation beyond the statutory

deadline. I am concerned that today's opinion opens the door for

such respondents to thwart the legislature's desire to protect the

best interests of the minors.

 &nbsp;&nbsp;&nbsp;&nbsp;It is well settled that "a court construing the language of a

statute will assume that the legislature did not intend to produce

an absurd or unjust result." State Farm Fire &amp; Casualty Co. v.

Yapejian, 152 Ill. 2d 533, 541 (1992), citing People v. Steppan,

105 Ill. 2d 310, 316 (1985). In addition, "[w]hen the literal

enforcement of a statute would result in great injustice and lead

to consequences which the legislature could not have contemplated,

the courts are bound to presume that such consequences were not

intended and will adopt a construction which it may be reasonable

to presume was contemplated by the legislature. City of Chicago v.

Mayer, 290 Ill. 142." People ex rel. Cason v. Ring, 41 Ill. 2d 305,

312-13 (1968), quoting Village of Glencoe v. Hurford, 317 Ill. 203,

220 (1925). The majority's literal interpretation of section 2--14

leads to absurd results while at the same time prejudices society's

interest in protecting its children. Because the legislature could

not have intended such consequences, I believe this court should

adopt a more reasonable construction than that suggested by my

colleagues. Such a construction may be found in a recent decision

of the Fourth District of the Appellate Court, decided after we

granted leave to appeal in the instant case. In re H.R., 283 Ill.

App. 3d 907 (1996).

 &nbsp;&nbsp;&nbsp;&nbsp;In In re H.R., the State filed a petition for adjudication of

wardship on November 9, 1995. The circuit court of Champaign County

commenced the adjudicatory hearing 85 days later. After hearing

extensive testimony, the court continued the matter for an

additional 45 days. Shortly thereafter, the respondent mother filed

a motion to dismiss pursuant to section 2--14. The court granted

the motion to dismiss, and the State appealed. In reversing the

order of the circuit court, the Fourth District expressly rejected

the analysis utilized by the appellate court, and which is being

used by this court, in the instant case. H.R., 283 Ill. App. 3d at

910. Instead, the H.R. court held that section 2--14 does not

require a dismissal of a petition where the hearing is begun, but

not yet completed, within the 90-day period. H.R., 283 Ill. App. 3d

at 912. In support of this holding, the H.R. court stated at

length:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"We disagree with the S.G. court's interpretation of the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;word `heard.' Although the matter must be `heard,' that

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;is not synonymous with `concluded.' Witnesses and parties

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;may be `heard' at a hearing on a matter which is not

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;concluded. See Black's Law Dictionary 721 (6th ed. 1990)

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(definition of `hearing' [hold means "[t]o administer; to

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;conduct or preside at; to convoke, open and direct the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;operations of"]). A hearing need not be concluded and the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;decision of the tribunal need not be made for the matter

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;to be in the process of being `heard.' It must be

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;recognized that the number and availability of witnesses

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;affects when the hearing will be concluded. The

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;legislature could not have reasonably meant that a

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;hearing, though commenced, must be halted and the cause

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;dismissed because of the illness of one of the witnesses,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;or that the parties to the proceeding would simply be

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;denied the opportunity to present witnesses who would not

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;be available on time." H.R., 283 Ill. App. 3d at 912.

 &nbsp;&nbsp;&nbsp;&nbsp;In addition, the court in H.R. further emphasized that the

overall purpose of the Juvenile Court Act is to safeguard the best

interest of the children. H.R., 283 Ill. App. 3d at 912, citing 705

ILCS 405/1--2(1) (West 1994). The court then pointed out that

"[g]iving the persons alleged to be endangering the children the

opportunity to retain custody of the children simply because an

adjudicatory hearing, though started, has not been concluded within

the 90-day period is not consistent with the overall purpose of the

Act." H.R., 283 Ill. App. 3d at 912. Accordingly, the court

concluded that the "beginning of the adjudicatory hearing within 90

days in the case at bar satisfied the statute, and the dismissal of

this case was an abuse of discretion." H.R., 283 Ill. App. 3d at

912.

 &nbsp;&nbsp;&nbsp;&nbsp;I find the foregoing reasoning reflects the will of the

General Assembly more accurately than the literal approach endorsed

by my colleagues. The United States Supreme Court has "repeatedly

warned against the dangers of an approach to statutory construction

which confines itself to the bare words of a statute [citations],

`for literalness may strangle meaning.' " Lynch v. Overholser, 369

U.S. 705, 710, 8 L. Ed. 2d 211, 215, 82 S. Ct. 1063, 1067 (1962).

I would heed that warning in this case and hold, like the Fourth

District appellate panel, that the only way to fully effectuate the

mission of the legislature is to liberally construe the word

"heard" so as to include the commencement of a hearing. See, e.g.,

People v. Williams, 59 Ill. 2d 402, 405 (1974) (holding speedy-

trial provision ("[e]very person *** shall be tried *** within 120

days" (emphasis added)) satisfied by commencement of proceeding).

Any other interpretation would lead to absurd consequences that

could not possibly have been contemplated by our General Assembly.

 &nbsp;&nbsp;&nbsp;&nbsp;Finally, I realize that my voice is only that of a dissenter,

and that the majority opinion speaks with the force of law.

Accordingly, I call upon the legislature to act promptly in

amending the Juvenile Court Act so as to provide trial courts with

some degree of discretion in granting or denying motions to dismiss

pursuant to section 2--14. In this respect, I urge our legislature

to take note of those factors which can cause--unavoidably at

times--a violation of the 90-day statutory deadline, such as

congested court calendars and the exigencies of litigation.

Indeed, if safeguarding the rights of children is to have any real

significance in Illinois, courts must be given a legitimate

opportunity to pass upon the allegations of abuse and neglect.

Sadly, when that opportunity is needlessly hampered, it is the

abused and neglected children--in whose interest the General

Assembly acted in the first place--who suffer the tragic

consequences.

 &nbsp;&nbsp;&nbsp;&nbsp;Because I would affirm the order of the circuit court denying

respondents' motion to dismiss, I respectfully dissent.



 &nbsp;&nbsp;&nbsp;&nbsp;CHIEF JUSTICE HEIPLE and JUSTICE MILLER join in this dissent.


